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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                *              CIVIL ACTION 05-4182
CONSOLIDATED LITIGATION                     *
                                            *
severed from Abadie, 06-5164                *
                                            *
PERTAINS TO:                                *              SECTION “K” (2)
                                            *
Angle Rilleaux-Fields v.                    *              Judge Stanwood R. Duval, Jr.
State Farm Fire and Casualty Company,       *
Case Number 07-2456                         *
*************************************

                                NOTICE OF SUBMISSION


       PLEASE TAKE NOTICE, that Plaintiff, through undersigned counsel, will bring on for

hearing the attached Motion on the 21st day of October, 2015 at 9:30 a.m. before the Honorable

Stanwood R. Duval, Jr.

                                                    Respectfully submitted:


                                                    /s/ Melissa DeBarbieris
                                                    JOSEPH M. BRUNO (# 3604)
                                                    MELISSA A. DEBARBIERIS (#32124)
                                                    Bruno & Bruno, LLP
                                                    855 Baronne Street
                                                    New Orleans, LA 70113
                                                    Telephone: (504) 525-1335
                                                    Facsimile: (504) 581-1493




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the above and foregoing upon all counsel of

record by placing same in the United States mail, properly addressed and with first-class postage,

or by facsimile or other electronic transmission this 28th day of September, 2015.



                                                            /s/ Melissa DeBarbieris
                                                            Melissa DeBarbieris




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